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                                         ‭IN THE UNITED STATES DISTRICT COURT‬
                                              ‭FOR THE DISTRICT OF COLUMBIA‬



              ‭United States of America,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03010-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

              ‭Google LLC,‬

                                                  ‭Defendant.‬




              ‭State of Colorado,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03715-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

              ‭Google LLC,‬

                                                  ‭Defendant.‬



                                            ‭DECLARATION OF ELIZABETH DALY‬

             ‭I, Elizabeth Daly, declare as follows:‬

                       ‭1.‬    ‭I am currently employed by Google LLC (Google) as a Director within Google’s‬

             ‭Legal organization. I graduated from the University of Michigan Law School in 2007 and have‬

             ‭been an in-house counsel for Google since 2011. I am a member of the New York State Bar.‬

                       ‭2.‬    ‭Among other responsibilities at Google, I provide legal advice to the Google‬

             ‭employees who evaluate search grounding opportunities and engage with companies interested‬

             ‭in using the grounding services that Google has developed. In this capacity, I receive sensitive‬



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             ‭internal information about Google’s product development plans, strategic objectives, deal terms,‬

             ‭and other matters.‬

                     ‭3.‬     ‭I am also involved in evaluating the commercial sensitivity of Google’s business‬

             ‭information and assessing whether disclosing particular information would harm Google’s‬

             ‭competitive standing. For example, as part of my work at Google I participate in determining‬

             ‭whether to seek confidential treatment for materials submitted to regulators and evaluating‬

             ‭whether information shared with business partners should be subject to a non-disclosure‬

             ‭agreement.‬

                     ‭4.‬     ‭I have reviewed PXR0101 (GOOG-DOJ-33773737), which is an internal Google‬

             ‭document with a date of June 28, 2024 on the cover slide. The document contains numerous‬

             ‭highly sensitive details about the provision of grounding services to Meta. In particular,‬

             ‭disclosure of the following information is likely to cause significant harm to Google’s‬

             ‭competitive standing.‬

                     ‭5.‬     ‭First, the document includes recent and specific data on the usage of Google’s‬

             ‭grounding services and associated revenue in connection with a pilot program on certain Meta‬

             ‭applications. This data informs which services Google will offer in the future and how it will‬

             ‭structure commercial arrangements, among other strategic considerations. Google’s competitive‬

             ‭standing would be harmed if the information were disclosed to the other company that Google is‬

             ‭aware of having provided grounding services to Meta or to other firms that develop artificial‬

             ‭intelligence applications. Google seeks to redact only the specific usage and financial results‬

             ‭associated with the pilot, and not the fact that the pilot occurred or descriptions of what it‬

             ‭entailed that appear in the document.‬




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                     ‭6.‬     ‭Second, the document includes recent and specific assumptions or projections‬

             ‭regarding the use of generative AI chat applications and associated revenue opportunities.‬

             ‭Disclosure of the numbers associated with these deal models would harm Google’s competitive‬

             ‭standing in future negotiations with companies that use grounding services because they would‬

             ‭have access to the details of how Google analyzed a potential deal, but Google would not have‬

             ‭corresponding access to any of their internal analyses. For much the same reason, disclosure‬

             ‭would harm Google’s competitive standing in relation to other companies that provide grounding‬

             ‭services to Meta and other developers. Google seeks to redact only the specific numbers used in‬

             ‭connection with this recent internal modeling, and not the scenarios that were analyzed or the‬

             ‭qualitative descriptions of them that appear in the document.‬

                     ‭7.‬      ‭Third, the document includes recent and specific results from confidential‬

             ‭quality analyses related to the grounding pilot. Quality studies inform how Google improves and‬

             ‭positions its products going forward, and Google’s competitive standing would be harmed if such‬

             ‭recent details were made available to competitors or customers, who do not disclose to Google‬

             ‭their confidential testing of their own products (or Google’s products). Google seeks to redact‬

             ‭only the specific numbers associated with this recent quality evaluation, and not the way that the‬

             ‭evaluation was performed or the qualitative characterizations of the findings that appear in the‬

             ‭document.‬

                     ‭8.‬     ‭Fourth, the document includes recent and specific details of how Google decided‬

             ‭to launch this pilot in particular countries at particular times. The factors that Google considers‬

             ‭in launching beta or pilot products are commercially sensitive because it competes with many‬

             ‭firms that are similarly launching new products or services and have their own internal strategic‬

             ‭considerations about when to make them available. Google’s competitive standing would be‬



                                                               ‭3‬
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             ‭harmed if competitors could extrapolate when Google might launch or refrain from launching‬

             ‭future products and services and position their own offerings accordingly. Google seeks to‬

             ‭redact only a specific consideration around timing, and not the fact that the pilot occurred or‬

             ‭what it entailed.‬

                     ‭9.‬     ‭Fifth, the document includes recent and specific characterizations of the‬

             ‭behind-the-scenes distinctions between different Google offerings. Disclosure of this‬

             ‭information would harm Google’s competitive standing by allowing competitors to ascertain‬

             ‭how Google retrieves the information provided in connection with its various offerings and how‬

             ‭to position their own product lineups. Google seeks to redact only a narrow set of internal details‬

             ‭about its systems and techniques, not the offerings it considered in discussions with Meta or the‬

             ‭considerations discussed in the document.‬

                     ‭10.‬    ‭I have also reviewed PXR0153 (GOOG-DOJ-34846476), which is an internal‬

             ‭Google document with a date of October 2024 on the cover slide. The document contains‬

             ‭numerous highly sensitive details about the provision of grounding services to Anthropic. In‬

             ‭particular, disclosure of the following information is likely to cause significant harm to Google’s‬

             ‭competitive standing.‬

                     ‭11.‬    ‭First, the document includes recent and specific results from confidential quality‬

             ‭analyses related to different datasets and models. For the reasons stated above in paragraph 7,‬

             ‭Google’s competitive standing would be harmed by the disclosure of these details. Again,‬

             ‭Google seeks to redact only the specific numbers associated with recent quality evaluations, and‬

             ‭not the datasets or models used or the nature of the comparisons as described in the document.‬

                     ‭12.‬    ‭Second, the document includes recent and specific descriptions of how Google‬

             ‭protects its search algorithms and other trade secrets when providing grounding services. If‬



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             ‭Google were required to disclose the technical steps it takes to prevent IP leakage, then its‬

             ‭competitive standing would be harmed because the numerous companies that use Google’s‬

             ‭grounding services would have insight into how to evade those protections. Google seeks to‬

             ‭redact only the specific techniques used to prevent IP leakage, and not the fact that it is a‬

             ‭consideration in structuring a grounding arrangement or the other strategic considerations‬

             ‭evaluated in the document.‬

                     ‭13.‬    ‭Third, the document includes a recent and specific list of Google’s largest‬

             ‭grounding customers and the confidential prices paid by some of those customers. Disclosure of‬

             ‭the financial terms of these negotiated deals would harm Google’s competitive standing relative‬

             ‭to other grounding providers, who are likewise believed to negotiate confidential terms that vary‬

             ‭from their list prices. It would also harm Google’s competitive standing in negotiations with a‬

             ‭number of grounding customers if Google were required to disclose the prices agreed to with the‬

             ‭customers identified in the document and the numbers considered in the proposed deal with‬

             ‭Anthropic addressed in the document. Google seeks to redact only the specific prices and‬

             ‭revenue figures in the document, and not the qualitative discussion of pricing and other strategic‬

             ‭considerations in the document.‬

                                                      ‭*‬    ‭*‬         ‭*‬   ‭*‬

             ‭I declare under penalty of perjury that the foregoing is true and correct.‬


                               7th day of April 2025, in _______________________________.‬
             ‭Executed on this ____                        Manhasset, New York



                                                                          ‭ _________________________‬
                                                                          _
                                                                          ‭Elizabeth Daly‬




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